    Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 1 of 12 PageID: 1

                          Law Offices

                          Apruzzese, McDermott, Mastro & Murphy
                          25 Independence Boulevard, Warren, N.J. 07059                                www.ammm.com
Apruzzese, McDermott,
Mastro & Murphy, P.C.                                                              Arthur R. Thibault, Esq.
     (Established 1965)
   (Established 1965)                                                              Athibault@ammm.com

                                                                   November 12, 2021

    ELECTRONICALLY FILED
    William T. Walsh, Clerk,
    United States District Court
    For the District of New Jersey
    Martin Luther King Jr., Federal Building & Courthouse
    Room 4040
    50 Walnut Street
    Newark, New Jersey 07101

                   Re:    John Tayag-Kosky v. Town of Kearny
                          New Jersey Superior Court Docket No.: HUD-L-3913-21

    Dear Mr. Walsh:

           This law firm represents Defendant Town of Kearny in the above-referenced matter.
    Enclosed please find the following removal documents filed on behalf of Defendant:

                   1.     Notice to New Jersey Superior Court of Filing Notice of Removal; and
                   2.     Petition for Removal with an Exhibit and Certification of Service attached.

                                                                   Respectfully,

                                                                   /s/ Arthur R. Thibault
                                                                   Arthur R. Thibault, Jr., Esq.

    ART/bos
    Enclosures

    cc:            Superior Court Clerk, Hudson County (w/ enclosures via e-filing)
                   John D. Feeley, Esq. (w/ enclosures via e-filing and Federal Express)




  (mail to) P.O. Box 112, Liberty Corner, N.J. 07938              Phone: (908) 580-1776            Fax: (908) 647-1492
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 2 of 12 PageID: 2




Arthur R. Thibault, Jr., Esq. (#023631998)
Boris Shapiro, Esq. (#024742009)
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MASTRO & MURPHY, P.C.
25 Independence Blvd.
Warren, New Jersey 07095
Telephone: (908) 580-1776
athibault@ammm.com
Attorneys for Defendant

                                                    Civil Action No.: __________________
 JOHN TAYAG-KOSKY,                                  State Court Docket No. HUD-L-3913-21

                                       Plaintiff,
                                                            NOTICE OF FILING
                       v.                                  NOTICE OF REMOVAL
                                                             (Electronically Filed)
 TOWN OF KEARNY,

                                     Defendant.



TO:    Clerk, Law Division
       Superior Court of New Jersey
       Hudson County Court House
       595 Newark Ave,
       Jersey City, NJ 07306

       John D. Feeley, Esq.
       Feeley & LaRocca, LLC
       76 South Orange Avenue, Suite 201
       South Orange, NJ 07079
       Counsel for Plaintiff

       Please take notice that on November 12, 2021, Defendant Town of Kearny filed a Notice

of Removal (a copy of which is attached) of the above-captioned action from the New Jersey

Superior Court, Law Division, Hudson County, Docket No. HUD-L-3913-21, to the United States

District Court for the District of New Jersey.
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 3 of 12 PageID: 3




                                         APRUZZESE, McDERMOTT,
                                         MASTRO & MURPHY, P.C.
                                         Attorneys for Defendant


                                     By: /s/ Arthur R. Thibault
Dated: November 12, 2021                Arthur R. Thibault, Jr., Esq.
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 4 of 12 PageID: 4




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

Arthur R. Thibault, Jr., Esq. (#023631998)
Boris Shapiro, Esq. (Atty# 024742009)
APRUZZESE, McDERMOTT,
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Telephone: (908) 580-1776
athibault@ammm.com
Attorneys for Defendant
Town of Kearny

                                                   Civil Action No.: __________________
 JOHN TAYAG-KOSKY,                                 State Court Docket No. HUD-L-3913-21

                                      Plaintiff,
                                                          NOTICE OF REMOVAL
                      v.                                    (Electronically Filed)

 TOWN OF KEARNY,

                                   Defendant.


TO:    CHIEF JUDGE AND JUDGES OF THE
       UNITED STATES DISTRICT COURT
       FOR THE DISTRICT OF NEW JERSEY

ON NOTICE TO:

       Clerk, Law Division
       Superior Court of New Jersey
       Hudson County Court House
       595 Newark Ave,
       Jersey City, NJ 07306
       (Via Electronic Filing)

       John D. Feeley, Esq.
       Feeley & LaRocca, LLC
       76 South Orange Avenue, Suite 201
       South Orange, NJ 07079
       Counsel for Plaintiff
       (Via Federal Express and electronic filing)
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 5 of 12 PageID: 5




HONORABLE JUDGES:

       Defendant Town of Kearny notices the removal of this action pursuant to 28 U.S.C. §1441

to the United States District Court for the District of New Jersey, on the following grounds:

                                 TIMELINESS OF REMOVAL

1.     On or about October 6, 2021, Plaintiff John Tayag-Kosky (“Plaintiff”) commenced a civil

       action against the above-named Defendant in the Superior Court of New Jersey, Hudson

       County, Law Division, under Docket No. HUD-L-3913-21. A true copy of the Complaint

       is attached hereto as Exhibit A. To Defendant’s knowledge, the Complaint is the only

       process or pleading filed or served by any party.

2.     Defendant first received notice of the civil action on or about October 27, 2021, when the

       Town Clerk was served with a copy of the Summons and Complaint.

3.     Accordingly, pursuant to 28 U.S.C. §1446(b), this Notice of Removal has been timely filed

       within thirty (30) days after first notice to Defendant of the civil action.

                                    BASIS FOR REMOVAL

4.     This cause is a civil action within the meaning of the Acts of Congress relating to removal

       of causes.

5.     In the First Count of the Complaint, Plaintiff alleges that Defendant violated federal law,

       namely the Uniformed Services Employment and Reemployment Rights Act, 38 USC

       §4301, et seq.

6.     The Complaint, at Count Two, also includes state law claims for alleged violations of the

       New Jersey Law Against Discrimination, N.J.S.A. §10:5-1, et seq.

7.     The above-described action is a civil action of which this Court has original jurisdiction

       under the provisions of Title 28, United States Code, Section 1331 (Federal question), in
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 6 of 12 PageID: 6




       that Plaintiff asserts a civil action based on a claim or right “arising under the Constitution,

       laws, or treaties of the United States.”

8.     Because the United States District Court has original jurisdiction over Plaintiff’s claims,

       this case is subject to timely removal under 28 U.S.C. § 1441 and 1446.

9.     The pendent state law claims arise from a common nucleus of operative facts which may

       be removed to the United States District Court pursuant to 28 U.S.C. § 1441(c).

10.    There are no other named Defendants.

11.    Defendant has not previously sought similar relief.

                                      NOTICE / SERVICE

12.    Pursuant to 28 U.S.C. § 1446, copies of this Notice of Removal have been served, via

       electronic filing through the Superior Court of New Jersey and Federal Express, upon

       Plaintiff’s counsel and upon the Clerk of the Law Division of the Superior Court, Hudson

       County, New Jersey through electronic filing.

       WHEREFORE, Defendant Town of Kearny respectfully request that this Honorable

Court take jurisdiction of this action and issue all necessary orders and process to remove said

action from the Superior Court of New Jersey, Hudson County to the United States District Court

for the District of New Jersey.

                                                       Respectfully submitted,

                                                       APRUZZESE, McDERMOTT,
                                                       MASTRO & MURPHY, P.C.
                                                       Attorneys for Defendant

                                               By:     /s/ Arthur R. Thibault
                                                       Arthur R. Thibault, Jr., Esq.

Dated: November 12, 2021
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 7 of 12 PageID: 7




                       LOCAL CIVIL RULE 11.2 CERTIFICATION

       I, Arthur R. Thibault, Jr, Esq., counsel for Defendant, certify that the claims in the matter

are the subject of the following pending actions:

   1) The above-captioned Superior Court Action bearing docket number HUD-L-3913-21; and

   2) An appeal of Plaintiff’s termination at the New Jersey Office of Administrative Law under

       docket number CSR 05320-2021.



                                                     APRUZZESE, McDERMOTT,
                                                     MASTRO & MURPHY, P.C.
                                                     Attorneys for Defendant

                                             By:     /s/ Arthur R. Thibault
Dated: November 12, 2021                             Arthur R. Thibault, Jr., Esq.
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 8 of 12 PageID: 8




                              CERTIFICATION OF SERVICE

       I hereby certify that I served copies of this Notice of Removal on November 12, 2021, as
follows:

TO:           Clerk, Law Division
              Superior Court of New Jersey
              Hudson County Court House
              595 Newark Ave,
              Jersey City, NJ 07306
              (Via Electronic Filing)

              John D. Feeley, Esq.
              Feeley & LaRocca, LLC
              76 South Orange Avenue, Suite 201
              South Orange, NJ 07079
              Counsel for Plaintiff
              (Via Federal Express and Electronic Filing)

                                                   APRUZZESE, McDERMOTT,
                                                   MASTRO & MURPHY, P.C.
                                                   Attorneys for Defendant

                                                   By:      /s/ Boris Shapiro
Dated: November 12, 2021                                    Boris Shapiro, Esq.
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 9 of 12 PageID: 9




                     EXHIBIT A
     HUD-L-003913-21 10/06/2021 1:14:05 PM Pg 1 of 3 Trans ID: LCV20212325080
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 10 of 12 PageID: 10
     HUD-L-003913-21 10/06/2021 1:14:05 PM Pg 2 of 3 Trans ID: LCV20212325080
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 11 of 12 PageID: 11
     HUD-L-003913-21 10/06/2021 1:14:05 PM Pg 3 of 3 Trans ID: LCV20212325080
Case 2:21-cv-19961-MCA-ESK Document 1 Filed 11/12/21 Page 12 of 12 PageID: 12
